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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 18-014
09          Plaintiff,                    )
                                          )
10          v.                            )
                                          )            DETENTION ORDER
11   JIA JIE LAI,                         )
                                          )
12          Defendant.                    )
     ____________________________________ )
13

14 Offense charged:        Bringing in Aliens Without Authorization for Personal Gain, Aiding and

15 Abetting; Transporting Alien, Aiding and Abetting, Private Financial Gain

16 Date of Detention Hearing:     January 9, 2018.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant is reportedly a citizen of the Peoples Republic of China.



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01            2.      The United States alleges that his presence in this country is illegal. There is

02 an immigration detainer pending against him.

03            3.      Defendant and his counsel offer no opposition to entry of an order of detention.

04            4.      Upon advice of counsel, defendant declined to be interviewed by Pretrial

05 Services. Therefore, there is limited information available about him.

06            5.     Defendant poses a risk of nonappearance based on citizenship and ties to China,

07 international ties to Canada, and immigration detainer, as well as lack of verified background

08 information. He poses a risk of danger due to the nature of the instant offense.

09            It is therefore ORDERED:

10         1. Defendant shall be detained pending trial and committed to the custody of the Attorney

11            General for confinement in a correction facility separate, to the extent practicable, from

12            persons awaiting or serving sentences or being held in custody pending appeal;

13         2. Defendant shall be afforded reasonable opportunity for private consultation with

14            counsel;

15         3. On order of the United States or on request of an attorney for the Government, the person

16            in charge of the corrections facility in which defendant is confined shall deliver the

17            defendant to a United States Marshal for the purpose of an appearance in connection

18            with a court proceeding; and

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01     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

02        for the defendant, to the United States Marshal, and to the United State Pretrial Services

03        Officer.

04        DATED this 9th day of January, 2018.

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                                                        A
                                                        Mary Alice Theiler
                                                        United States Magistrate Judge
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